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                                        LEXSEE 2006 U.S. DIST. LEXIS 62841

                    UNITED STATES OF AMERICA, Plaintiff, vs. BOOKER LEE ZACHERY
                                      JOHNSON III, Defendant.

                                              Case No. 05-40107-01-RDR

                   UNITED STATES DISTRICT COURT FOR THE DISTRICT OF KANSAS


                                                2006 U.S. Dist. LEXIS 62841

                                              September 1, 2006, Decided
                                               September 1, 2006, Filed

COUNSEL: [*1] For Booker Lee Zachery Johnson, III
(1), Defendant: Dwight L. Miller, CJA Appointment,                The court agrees with the government. The
Topeka, KS.                                                   government shall not be allowed to use the chart until the
                                                              court determines if there is some foundation for it. A
For USA, Plaintiff: James A. Brown, Office of United          chart that summarizes the testimony offered at trial may
States Attorney -- Topeka, Topeka, KS.                        be admitted by the court. United States v. Stiger, 413
                                                              F.3d 1185, 1198 (10th Cir. 2005). However, if the chart
JUDGES: Richard D. Rogers, United States District             contains information from non-trial sources, it cannot be
Judge.                                                        admitted. Id.

OPINION BY: Richard D. Rogers                                     MOTION FOR BILL OF PARTICULARS
                                                                   The defendant seeks a bill of particulars concerning
OPINION:                                                      the charge contained in the indictment. He requests: (1)
    MEMORANDUM AND ORDER                                      the specific time and location where the alleged offenses
                                                              commenced; (2) the manner in which the alleged
     The defendant is charged with distribution and           offenses were perpetrated; and (3) the particulars of each
possession with intent to distribute approximately 50         of the defendant's alleged offenses. The defendant points
grams or more of crack cocaine and 5 kilograms or more        out in support of his motion that the superseding
of powder cocaine in violation of 21 U.S.C. § 841(a)(1).      indictment [*3] provides that the alleged offense
The defendant has filed the following motions: (1)            occurred "from an unknown date beginning sometime
motion in limine regarding organizational chart; (2)          after January 1, 1996, and continuing to on or about the
motion for bill of particulars; (3) motion for further        15th day of March, 2005, the exact dates unknown to the
discovery and disclosure; and (4) motion for in camera        Grand Jury." The defendant further notes that the
inspection and disclosure of Brady material and criminal      superseding indictment alleges possession and
history contained in cooperating witnesses' probation         distribution of two separate types of narcotics: cocaine
files. The court has conducted a hearing on these motions     base or crack cocaine and cocaine hydrochloride or
and made several rulings. The purpose of this                 powder cocaine. The defendant suggests that the broad
memorandum and order is to memorialize the rulings            dates of the conspiracy coupled with the lack of
made by the court during the hearing.                         specificity in the charge mandates a bill of particulars
                                                              here. The defendant contends that this indictment raises
  MOTION    IN   LIMINE                    REGARDING          double jeopardy as well as statute of limitations issues.
ORGANIZATIONAL CHART
                                                                   The government objects to the defendant's request
     The defendant seeks an order of the court preventing     for a bill of particulars. The government argues that a bill
the government from [*2] introducing any evidence             of particulars is not required because the indictment
concerning an organization chart that shows the               tracks the statute and adequately expresses all elements
defendant as the leader of a group of drug dealers. The       of the offense. Moreover, the government points out that
defendant suggests that the chart is either not relevant or   the defendant has been given all of the statements of the
that its probative value is outweighed by its prejudicial     government's witnesses.
impact. The government has suggested that this is a
matter that is better left for decision at trial.                 "The purpose of a bill of particulars is to inform the
                                                              defendant of the charge against him with sufficient
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precision to allow him to prepare his defense." United
States v. Levine, 983 F.2d 165, 166-67 (10th Cir. 1992)              The defendant seeks to have the court conduct an in
[*4] (citations and internal quotation marks omitted). "A       camera inspection of the cooperating witnesses'
bill of particulars is not necessary if the indictment sets     probation files and release all Brady material contained
forth the elements of the offense charged and sufficiently      in the files to defense counsel.
apprises the defendant of the charges to enable him to               The government has agreed to provide the
prepare for trial." Id. at 167 (citations and internal
                                                                information requested by the defendant. The government
quotation marks omitted). "[T]he defendant is not
                                                                will provide the presentence reports of the cooperating
entitled to notice of all of the evidence the government
                                                                witnesses directly to the defendant's counsel. The court
intends to produce, but only the theory of the
                                                                shall agree to this procedure. The court shall allow the
government's case." Id. (citations and internal quotation
                                                                presentence reports to be unsealed for this purpose.
marks omitted) (emphasis in the original).
                                                                However, the defendant's counsel shall not make copies
     The threshold for obtaining a bill of particulars in       of these reports and shall not provide the defendant with
the Tenth Circuit is high. Nevertheless, this case appears      access to them. If, after obtaining these reports, the
to be one where a bill of particulars is warranted. The         defendant seeks additional materials, he can file another
extended dates of the alleged offense -- over nine years --     motion detailing his requests.
coupled with the lack of specificity in the indictment               IT IS THEREFORE ORDERED that defendant's
justifies the granting of a bill of particulars. For these
                                                                motion in limine regarding organizational chart (Doc. #
reasons, the court believes that a bill of particulars is
                                                                62) be held in abeyance pending trial.
necessary, even though the government has produced
substantial discovery in this matter. The government                 IT IS FURTHER ORDERED that defendant's
shall be required to provide the specific time and location     motion for bill of particulars (Doc. # 63) be hereby
where the alleged offense commenced and the manner in           granted. The government shall be required to provide the
which the alleged offense [*5] was perpetrated. The             specific time and location where the alleged offense
government should provide the bill of particulars within        commenced [*7] and the manner in which the alleged
twenty-five days.                                               offense was perpetrated. The government should provide
                                                                the bill of particulars within twenty-five days.
     MOTION FOR FURTHER DISCOVERY AND
DISCLOSURE                                                           IT IS FURTHER ORDERED that defendant's
                                                                motion for further discovery and disclosure (Doc. # 64)
     The defendant seeks information concerning the             be hereby granted. The government shall provide the
prior crimes that the cooperating witnesses were arrested       requested materials at least 20 days prior to trial.
for and which led to their cooperation with the
government and their testimony in this case. The                     IT IS FURTHER ORDERED that defendant's
defendant notes that no Brady or Giglio evidence has            motion   for in camera inspection and disclosure of Brady
been produced by the government at this time. The               material and criminal history contained in cooperating
defendant seeks all DEA 6 reports, arrest reports, officer      witnesses' probation files (Doc. # 66) be hereby granted
narratives and any related statements relating to the prior     in part and denied in part. The government shall provide
crimes of the following witnesses: (a) Richard Smith, (b)       the presentence reports of the cooperating witnesses
Randy Owens, (c) Darrlyn Johnson, (d) David Wakes,              directly to the defendant's counsel. The court shall allow
(e) Annette Brown, (f) Aneurin Netherland, (g) Terrance         the presentence reports to be unsealed for this purpose.
Wilkins, (h) Eugene Green, (i) Bryan Brown, (j)                 However, the defendant's counsel shall not make copies
Courtney Cannon, (k) Steve Bell, (1) Kenny Riley, (m)           of these reports and shall not provide the defendant with
Tyrone Wakes and (n) Lawrence Washington.                       access to them.

     The government has agreed to provide all of this               IT IS SO ORDERED.
information. Given the government's response, this
motion shall be granted. The government shall produce              Dated this 1st day of September, 2006 at Topeka,
this information at least twenty days prior to trial.           Kansas.
                                                                    s/ Richard D. Rogers
   MOTION FOR IN CAMERA INSPECTION
AND DISCLOSURE OF BRADY MATERIAL AND                                United States District Judge
CRIMINAL [*6]   HISTORY CONTAINED IN
COOPERATING    WITNESSES' PROBATION
FILES
